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 UNITED STATES DISTRICT COURT                                   EASTERN DISTRICT OF TEXAS


 UNITED STATES OF AMERICA                           §
                                                    §
 versus                                             §    CRIMINAL ACTION NO. 4:07cr164.5
                                                    §    APPEAL NO. 10-40492
 TRENTARGUS RUMANE HOLT(1)                          §

                  MEMORANDUM ADOPTING REPORT AND
          RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE
          Came on for consideration the report of the United States Magistrate Judge in this action, this

 matter having been heretofore referred to the United States Magistrate Judge pursuant to 28 U.S.C.

 § 636. On October 12, 2010, the report of the Magistrate Judge was entered containing proposed

 findings of fact and recommendations that the Fifth Circuit Court of Appeals be notified of the

 finding that Defendant’s untimely filing of his notice of appeal was not due to excusable neglect or

 good cause.

          Rule 4(b)(1) of the Federal Rules of Appellate Procedure affords a criminal defendant

 fourteen (14) days in which to file a notice of appeal. Pursuant to Rule 4(b)(4) of the Federal Rules

 of Appellate Procedure, a district court may grant an additional thirty (30) days in which to file a

 notice of appeal upon a finding of excusable neglect or good cause. Since Defendant filed his notice

 of appeal within the additional thirty (30) day period, the Fifth Circuit remanded the case to this

 Court on July 7, 2010, for a determination of whether the untimely filing of the notice of appeal was

 due to excusable neglect or good cause. U. S. Magistrate Judge Amos L. Mazzant subsequently

 entered an Order on September 2, 2010, directing Defendant to file an affidavit with the Court by

 October 1, 2010, explaining whether the untimely filing of his notice of appeal was due to excusable

 neglect or good cause. The Court also ordered Defendant’s retained counsel to file a report with the

 Court, explaining his knowledge of this matter.

          On September 30, 2010, Defendant’s retained counsel filed a report indicating that his

 representation concluded after sentencing.
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        In the Court’s September 2, 2010 Order, the Court ordered Defendant to file an affidavit with

 the Court by October 1, 2010, explaining whether the untimely filing of his notice of appeal was due

 to excusable neglect or good cause. The Court’s September 2, 2010 Order was received by

 Defendant on September 15, 2010. Defendant failed to file an affidavit with the Court, as ordered.

 Furthermore, Defendant has failed to file objections to the Magistrate Judge's Report and

 Recommendation. Defendant, therefore, has not offered any explanation as to whether the untimely

 filing of his notice of appeal was due to excusable neglect or good cause.

        Having received the report of the United States Magistrate Judge, and no objections thereto

 having been timely filed, this Court is of the opinion that the findings and conclusions of the

 Magistrate Judge are correct and adopts the Magistrate Judge’s report as the findings and conclusions

 of the Court. It is accordingly

        ORDERED that, in light of the foregoing, the Court finds that Defendant's untimely filing

 of his notice of appeal was not due to excusable neglect or good cause.

        The Clerk is ORDERED to forward a copy of this memorandum to the Court of Appeals and

 to the parties
          .     in this lawsuit.
         SIGNED at Beaumont, Texas, this 7th day of September, 2004.
        SIGNED at Beaumont, Texas, this 1st day of November, 2010.




                                            ________________________________________
                                                        MARCIA A. CRONE
                                                 UNITED STATES DISTRICT JUDGE




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